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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
----------------------------------------------------------X
RAFAEL SALAZAR,
                                                              COMPLAINT
                                   Plaintiff,
                                                              CASE NO: 2:18-cv-13765



SKOURA CORPORATION d/b/a DAILY TREAT
RESTAURANT and JOHN SKOUTAKIS,

                                    Defendants.
----------------------------------------------------------X

          RAFAEL SALAZAR (“Plaintiff”), by and through his attorneys, Bashian & Papantoniou,

P.C., upon his knowledge and belief, and as against Defendants, SKOURA CORPORATION

d/b/a DAILY TREAT RESTAURANT (“Skoura”) and JOHN SKOUTAKIS (“Skoutakis”),

(hereinafter collectively, Skoura and Skoutakis shall be referred to as the “Defendants”), alleges

as follows:

                                       NATURE OF THE ACTION

          1.     Plaintiff was employed by Defendants from approximately October 24, 1984 until

on or about August 14, 2017.

          2.     Defendant, Skoura, owns, operates, and/or controls that certain restaurant located

at 177 East Ridgewood Ave., Ridgewood, New Jersey 07450, doing business as Daily Treat

Restaurant (hereinafter “Daily Treat”).

          3.     Plaintiff was employed by Daily Treat in the kitchen as a broiler/sortie cook.

          4.     Plaintiff regularly worked for Defendants in excess of 40 hours per week, without

appropriate overtime compensation for the hours that he worked.

          5.     Defendants failed to pay Plaintiff’s overtime premium.




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        6.       At all times relevant to this complaint, Defendants maintained a policy and

practice of requiring Plaintiff work in excess of forty (40) hours per week without providing the

overtime compensation required by federal and state law and regulations.

        7.       Plaintiff now brings this action for unpaid overtime wages pursuant to the Fair

Labor Standards Act of 1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the New

Jersey Wage and Hour Law, NJSA § 34:11-56 et seq (“NJWHL”), including applicable

liquidated damages, interest, attorneys’ fees and costs.

                                  JURISDICTION AND VENUE

        8.       This Court has subject matter jurisdiction pursuant to the FLSA, 29 U.S.C. §

216(b), 28 U.S.C. § 1337 (interstate commerce), and 28 U.S.C. § 1331 (federal question).

Supplemental jurisdiction over the state law claims is conferred by 28 U.S.C. § 1367(a).

        9.       Venue is proper in this District under 28 U.S.C. § 1391(b) and (c) because all or a

substantial part of the events or omissions giving rise to the claims occurred in this district,

Defendants operate their business in this district, and Plaintiff was employed by Defendants in

this district.

                                             PARTIES

                                       Plaintiff Rafael Salazar

        10.      Plaintiff is over the age of 18 years, sui juris, and was employed by Defendants

within this district.

        11.      Plaintiff’s employment began on or around October 24, 1984.

        12.      Plaintiff’s employment ended on or around August 14, 2017.




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                                         Defendant Skoura

       13.     At all times relevant to this complaint, Skoura owned, operated, and/or controlled

a restaurant located at 177 East Ridgewood Ave., Ridgewood, New Jersey 07450.

       14.     Upon information and belief, Skoura is a corporation organized and existing

under the laws of the state of New Jersey. Upon information and belief, it maintains its principal

place of business at 177 East Ridgewood Ave., Ridgewood, New Jersey 07450.

       15.     At all times relevant to this action, Skoura was and is engaged in commerce or in

an industry or activity affecting commerce.

       16.     Skoura constitutes an enterprise within the meaning of the FLSA, 29 U.S.C.

§ 203(r-s).

       17.     Skoura had control over the wages and compensation of its employees, including

Plaintiff, established the schedules of the employees, maintained employee records, and had the

authority to hire and fire employees.

                                        Defendant Skoutakis

       18.     Defendant Skoutakis is an individual engaging (or who was engaged) in business

in this District during the relevant time period.

       19.     Defendant Skoutakis is sued individually in his capacity as, on information and

belief, an owner, officer and/or agent of Defendant Skoura.

       20.     Upon information and belief, Defendant Skoutakis possesses or possessed

operational control over Defendant Skoura possesses or possessed an ownership interest in

Defendant Skoura, and controls or controlled significant functions of the Defendant Skoura.




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       21.     Upon information and belief, Defendant Skoutakis has and/or had control over the

wages and compensation of Skoura’s employees, including Plaintiff, established the schedules of

the employees, maintained employee records, and had the authority to hire and fire employees.

                                 FACTUAL ALLEGATIONS

       22.     Defendants operate a restaurant in Ridgewood, New Jersey known as Daily Treat.

       23.     Defendants possessed substantial control over Plaintiff’s working conditions, and

over the policies and practices with respect to the employment and compensation of Plaintiff.

       24.     Defendants employed Plaintiff and was his employer within the meaning of 29

U.S.C. 201 et seq. and the NJWHL.

       25.     During the relevant period, Defendants were Plaintiff’s employer within the

meaning of the FLSA and NJWHL. Defendants had the power to hire and fire Plaintiff, control

the terms and conditions of employment, and determine the rate and method of compensation in

exchange for his services.

       26.     Upon information and belief, Defendants, during the relevant period, had gross

annual volume of sales of not less than $500,000.

       27.     In addition, upon information and belief, Defendants are directly engaged in

interstate commerce. For example, numerous items that are used and sold daily at Daily Treat

were produced outside the State of New Jersey.

                                    Plaintiff Rafael Salazar

       28.     Plaintiff was employed by Defendants as a broiler/sortie cook.

       29.     Plaintiff’s employment began on or around October 24, 1984.

       30.     Plaintiff’s employment ended on or around August 14, 2017.




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         31.   Plaintiff regularly handled goods in interstate commerce which were produced

outside the State of New Jersey.

         32.   Plaintiff’s work duties required neither discretion nor independent judgment.

         33.   Plaintiff regularly worked in excess of 40 hours per week.

         34.   Plaintiff did not clock in or out of his shifts.

         35.   From approximately October 1984 until approximately August 2017, Plaintiff

worked a shift at Daily Treat which lasted from approximately 12:00 p.m. until at 10:00 p.m.

         36.   For three (3) months each summer (from around May or June until approximately

July or August), Plaintiff worked his shift seven (7) days a week (70 hours per week). For the

remainder of the year, Plaintiff worked his shift six (6) days a week (60 hours per week).

         37.   Prior to approximately 2015, Plaintiff was paid his wages in cash.

         38.   Prior to approximately 2015, Plaintiff was paid approximately $880.00 per week.

         39.   After approximately 2015, Plaintiff was paid a portion of his wages in cash.

         40.   After approximately 2015, Plaintiff was paid $812.00 per week. Plaintiff would

receive a check for $412.00 and the remainder in cash.

         41.   Defendants only granted Plaintiff a short meal break, but no rest periods were

given.

                           Defendants’ General Employment Practices

         42.   At all times relevant to this complaint, Defendants maintained a policy and

practice of requiring Plaintiff to work in excess of 40 hours per week without paying him

appropriate overtime compensation, as required by federal and state laws.

         43.   Defendants’ pay practices resulted in Plaintiff not receiving payment for all hours

worked, resulting in his effective rate of pay falling below the required overtime wage rate.



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        44.     Plaintiff was a victim of Defendants’ common policy and practice of violating

rights under the FLSA and NJWHL by inter alia not paying the overtime owed for the hours

worked.

        45.     As part of their regular business practice, Defendants intentionally, willfully, and

repeatedly harmed Plaintiff by engaging in a pattern, practice, and/or policy of violating the

FLSA and the NJWHL.

        46.     Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements

of the FLSA.

        47.     Defendants failed to maintain a system which recorded and stored the time

Plaintiff started and ended his shifts.

        48.     Defendants paid Plaintiff a portion of his wages in cash.

        49.     Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiff worked, and to avoid paying Plaintiff properly for

overtime due.

                                 FIRST CAUSE OF ACTION
                      (Violation of the Overtime Provisions of the FLSA)

        50.     Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set

forth herein.

        51.     Defendants failed to pay Plaintiff overtime compensation at rates of one and one-

half times the regular rate of pay for each hour worked in excess of forty hours in a workweek, in

violation of 29 U.S.C. § 207 (a)(1).

        52.     Defendants’ failure to pay Plaintiff overtime compensation was willful within the

meaning of 29 U.S.C. § 255(a).


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       53.        Plaintiff was damaged in an amount to be determined at trial.

                                   SECOND CAUSE OF ACTION
                (Violation of the Overtime Provisions of the New Jersey Labor Law)

       54.        Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set

forth herein.

       55.        Defendants failed to pay Plaintiff overtime compensation at rates of one and one-

half times the regular rate of pay for each hour worked in excess of forty hours in a workweek, in

violation of NJWHL §§ 34:11-56a et seq.

       56.        Defendants’ failure to pay Plaintiff overtime compensation was willful.

       57.        Plaintiff was damaged in an amount to be determined at trial.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against

Defendants:

       a)         Declaring that Defendants violated the overtime wage provisions of, and

associated rules and regulations under, the FLSA;

       b)         Declaring that Defendants’ violations of the provisions of the FLSA were willful;

       c)         Awarding Plaintiff damages for the amount of unpaid overtime wages, and

damages for any improper deductions or credits taken against wages under the FLSA as

applicable;

       d)         Awarding Plaintiff liquidated damages in an amount equal to 100% of his

damages for the amount of unpaid overtime wages, 29 U.S.C. § 216(b);

       e)         Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NJWHL;

       f)         Declaring that Defendants’ violations of the NJWHL were willful;


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       g)      Awarding Plaintiff damages for the amount of unpaid overtime wages, and

damages for any improper deductions or credits taken against wages as applicable,

       h)      Awarding Plaintiff pre-judgment and post-judgment interest as applicable;

       i)      Awarding Plaintiff the expenses incurred in this action, including costs and

attorneys’ fees; and

       j)      All such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues triable by a jury.

Dated: Garden City, New York
       September 11, 2018


                                                       Respectfully Submitted,

                                                       Bashian & Papantoniou, P.C.
                                                       Attorneys for Plaintiff
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